 

	
	
	
	
	OSCN Found Document:IN RE: RULES GOVERNING DISCIPLINARY PROCEEDINGS

	
	
	

	
	
	
	
	
	
	
	

	


					
	
        
            	
			
				


     
    OSCN navigation


    
        
        Home

        
        Courts

        
                
	    Court Dockets
			 

        
        Legal Research

        
        Calendar

        
        Help
    
    





				
					
						
						Previous Case

						
						Top Of Index

						
						This Point in Index

						
						Citationize

						
						Next Case

						
						Print Only
					
				
			
            
        

        
            
				
				IN RE: RULES GOVERNING DISCIPLINARY PROCEEDINGS2016 OK 92Case Number: SCBD-4216Decided: 09/19/2016THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2016 OK 92, __ P.3d __

				
NOTICE: THIS OPINION HAS NOT BEEN RELEASED FOR PUBLICATION. UNTIL RELEASED, IT IS SUBJECT TO REVISION OR WITHDRAWAL. 



IN RE: RULES GOVERNING DISCIPLINARY PROCEEDINGS
(5 O.S.2011, ch. 1, app. 1-A, Rule 3.3)




ORDER GRANTING AMENDMENT TO RULE 3.3
OF THE RULES GOVERNING DISCIPLINARY PROCEEDINGS


¶1 This matter comes on before this Court upon an Application of the Board of Governors of the Oklahoma Bar Association to amend Rule 3.3 of the Rules Governing Disciplinary Proceedings, 5 O.S.2011, ch. 1, app.1-A as proposed and set out in its entirety in Exhibit "A" attached hereto. This Court finds that it has jurisdiction over this matter, and that the Application should be granted.

¶2 IT IS THEREFORE ORDERED, ADJUDGED AND DECREED by the Court that the Application for an Order to Amend Rule 3.3 of the Rules Governing Disciplinary Proceedings, 5 O.S.2011, ch. 1, app.1-A, is hereby granted. Rule 3.3 is hereby amended as shown on the attached Exhibit "A", and is effective immediately. Rule 3.3 as amended is also attached.

¶3 DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE this19th day of September, 2016.


/S/VICE CHIEF JUSTICE



Reif, C.J., Combs, V.C.J., Kauger, Watt, Winchester, Taylor, Colbert and Gurich, JJ., concur;

Edmondson, J., not voting.



&nbsp;


&nbsp;

EXHIBIT "A"

Rules Governing Disciplinary Proceedings.
Chapter 1, App. 1-A
Rule 3. General Counsel.
§3.3. Grievances Against the General Counsel of the Association.

(a) Whenever a grievance is filed, or information is received by the Commission which could lead to the filing of a formal complaint against the General Counsel of the Association, the members of the Commission, and the President and the Executive Director of the Association shall immediately be notified.

(b) If a disciplinary grievance is made against:



(1) The General Counsel or member of General Counsel's staff alleging grounds for the imposition of discipline pursuant to these Rules, the Professional Responsibility Commission (PRC) shall consider the matter on the basis of the grievance. After review and consideration, the PRC may take any of the following actions or any combination thereof: (1) Require the General Counsel to make a response; (2) Appoint an Investigator; (3) Appoint a special counsel to investigate and present the case; or (4) Take such other steps as are necessary to facilitate the prompt resolution of the grievance. the Professional Responsibility Commission shall appoint a special counsel to investigate and present the case;

(2) A member of the Professional Responsibility Commission, the President of the Oklahoma Bar Association with concurrence of the Board of Governors, shall appoint a special three (3) member Commission to act on the grievance in conformance with these Rules;

(3) A member of the Professional Responsibility Tribunal, all procedures mandated by these Rules shall be followed, except the Supreme Court shall appoint a special Tribunal Panel to hear the case in the event formal charges are filed.

(4) A member of the Supreme Court, the matter shall be referred to the Oklahoma Council on Judicial Complaints.



(c) The President and the Executive Director of the Association shall be kept fully informed of all action taken by the Commission in the matter.

&nbsp;


&nbsp;

Rules Governing Disciplinary Proceedings.
Chapter 1, App. 1-A
Rule 3. General Counsel.
§3.3. Grievances Against the General Counsel of the Association.

(a) Whenever a grievance or information is received by the Commission which could lead to the filing of a formal complaint against the General Counsel of the Association, the members of the Commission, and the President and the Executive Director of the Association shall immediately be notified.

(b) If a disciplinary grievance is made against:

(1) The General Counsel or member of General Counsel's staff alleging grounds for the imposition of discipline pursuant to these Rules, the Professional Responsibility Commission (PRC) shall consider the matter on the basis of the grievance. After review and consideration, the PRC may take any of the following actions or any combination thereof: (1) Require the General Counsel to make a response; (2) Appoint an Investigator; (3) Appoint a special counsel to investigate and present the case; or (4) Take such other steps as are necessary to facilitate the prompt resolution of the grievance.

(2) A member of the Professional Responsibility Commission, the President of the Oklahoma Bar Association with concurrence of the Board of Governors, shall appoint a special three (3) member Commission to act on the grievance in conformance with these Rules;

(3) A member of the Professional Responsibility Tribunal, all procedures mandated by these Rules shall be followed, except the Supreme Court shall appoint a special Tribunal Panel to hear the case in the event formal charges are filed.

(4) A member of the Supreme Court, the matter shall be referred to the Oklahoma Council on Judicial Complaints.

(c) The President and the Executive Director of the Association shall be kept fully informed of all action taken by the Commission in the matter.




&nbsp;





	Citationizer© Summary of Documents Citing This Document
	
	
		Cite
		Name
		Level
	
	
	None Found.
	
	
	Citationizer: Table of Authority
	
	
		Cite
		Name
		Level
	
	
	None Found.
	
	



				
					
					
				
             
         
        
            
            
        

		
        
        
        
		
		
		
		
		

    
